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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE


  BRENNA KANE, et al.,                 :
                                       :
                    Plaintiffs,        :
              vs.                      : Civil Action No. 2:19-CV-506-GZS
                                       :
  THE DEPARTMENT OF HEALTH AND :
  HUMAN SERVICES FOR THE STATE :
  OF MAINE, et al.,                    :
                                       :
                    Defendants.        :
  _____________________________________:


                     RULE 41(a) NOTICE OF VOLUNTARY DISMISSAL.

  TO THE CLERK:

  Kindly dismiss this matter pursuant to Rule 41(a)(1)(A)(ii), as all parties to this case
  consent to a voluntary dismissal of this matter with prejudice.

         Respectfully submitted,



         /s/ Stacey D. Neumann___                       /s/ Kelly L. Morrell
         STACEY D. NEUMANN                              KELLY L. MORRELL
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         Counsel for Plaintiffs
         April 10, 2020

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  BRENNA KANE, et al.,                 :
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                    Plaintiffs,        :
              vs.                      : Civil Action No. 2:19-CV-506-GZS
                                       :
  THE DEPARTMENT OF HEALTH AND :
  HUMAN SERVICES FOR THE STATE :
  OF MAINE, et al.,                    :
                                       :
                    Defendants.        :
  _____________________________________:


                                   CERTIFICATE OF SERVICE

         I hereby certify that on this day I electronically filed this Rule 41(a) Notice of

  Voluntary Dismissal with the Clerk of the Court using the CM/ECF system, which will

  send notification of such filing(s) to the following:

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                                                 /s/ Stacey D. Neumann
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